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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division


       UNITED STATES OF AMERICA )
                                )                             Case No. 4:17cr76
           v.                   )
                                )
       ELMER EMMANUEL EYCHANER, )
                                )
           Defendant.           )

                       DEFENDANT’S MOTION TO DISMISS
                   COUNT TWO WITH MEMORANDUM IN SUPPORT

       Defendant, Elmer Emmanuel Eychaner, by counsel and pursuant to Rule 12 of the Federal

Rules of Criminal Procedure, moves this Honorable Court to dismiss Count Two of the indictment.

In support of this motion, Mr. Eychaner states as follows:

                                   STATEMENT OF ISSUES

       This motion to dismiss Count Two presents the following questions:

               1. Is § 1466A unconstitutionally vague when, as here, a person is
                  charged with attempting to receive obscene cartoons without
                  identifying for the jury any particular cartoon as obscene?

               2. Does § 1466—which imposes draconian criminal penalties for
                  attempted receipt of obscene cartoons—unconstitutionally chill
                  protected speech in violation of the First Amendment?

               3. Can a law that criminalizes the receipt of sexually explicit
                  cartoons on a home computer—thereby touching upon the most
                  private human conduct (sexual behavior) in the most private of
                  places (the home)—survive strict scrutiny? Or does it infringe
                  on fundamental liberties protected by substantive due process?

               4. By failing to identify any specific item received in violation of
                  the statute, does Count Two fail to state an offense, fail to fairly
                  inform Mr. Eychaner of the charge against which he must
                  defend, or fail to allow Mr. Eychaner to plead the judgment in
                  this case as a defense to further prosecution?



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               5. Does Count Two violate the rule against duplicity by charging
                  Mr. Eychaner with two distinct offenses: both attempt to receive
                  cartoon obscenity and the completed offense?

                                        BACKGROUND

       Mr. Eychaner is charged with one count of Access with Intent to View Minors Engaged in

Sexually Explicit Conduct in violation of 18 U.S.C § 2252(a)(4)(B), one count of Attempted

Receipt of Obscene Visual Representations of the Sexual Abuse of Children in violation of 18

U.S.C § 1466A(a)(1), one count of Destruction of a Tangible Object to Impede a Federal

Investigation in violation of 18 U.S.C. § 1519, one count of Obstruction of Justice-Attempted

Evidence Tampering in violation of 18 U.S.C. § 1512(c)(1), and one count of Penalties for

Registered Sex Offender in violation of 18 U.S.C. § 2260A. ECF. No. 1.

       On September 5, 2017, Mr. Eychaner entered a plea of not guilty. ECF No. 10. A motion

to compel Production of Evidence was filed by the defense on November 9, 2017, and a response

in opposition was filed by the United States on November 24, 2017. ECF Nos. 14, 17. That motion

is still pending before the Court. The defense has filed two unopposed motions to extend the

motions cut-off date so that the defense expert may review the discovery before the filing of

motions.1 ECF Nos. 12 and 15. Both of those motions were granted. A jury trial is currently set

for January 9, 2018. ECF No. 10.

                                     LEGAL STANDARDS

       Rule 12(b)(1) states “[a] party may raise by pretrial motion any defense, objection, or

request that the court can determine without a trial on the merits.” The Supreme Court has




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         In the interests of time, the defense is filing these motions despite the expert having not
yet reviewed the evidence. Should the expert alert defense counsel to additional issues that should
be addressed pretrial, the defense will request the ability to file additional motions late.


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explained that a defense may be raised and adjudicated in a pre-trial motion “if trial of the facts

surrounding the commission of the alleged offense would be of no assistance in determining the

validity of the defense.” United States v. Covington, 395 U.S. 57, 60 (1969).

       Mr. Eychaner raises purely legal questions about whether Count Two should be dismissed

in its entirety because it is unconstitutional facially or as applied to Mr. Eychaner.          Rule

12(b)(3)(B) allows a motion for dismissal to be filed before trial if there is “a defect in the

indictment or information.” The Supreme Court has held that no prosecution can stand under a

law that is unconstitutional. United States v. Stanley, 109 U.S. 3, 8-9 (1883). Therefore, if the

indictment “alleges a violation of an unconstitutional statute,” it is defective and may be dismissed

following a motion under Rule 12(b)(3)(B). United States v. Brown, 715 F. Supp. 2d 688, 689

(E.D. Va. 2010) (citing Stanley, 109 U.S. 8-9). Mr. Eychaner also moves to dismiss Count Two

for duplicity because the indictment improperly joins two offenses in the same count. That motion,

too, is properly raised before trial pursuant to Rule 12(b)(3)(B)(i).

                                           ARGUMENT

       Count Two of the indictment should be dismissed for five reasons. First, as applied to

non-existent or unspecified materials, the crime of attempted receipt of obscenity under § 1466A

is unconstitutionally vague. Second, § 1466—which imposes severe criminal penalties for

attempted receipt of obscene cartoons—unconstitutionally chills protected speech in violation of

the First Amendment. Third, a law that forbids a person from downloading sexually explicit

cartoons onto his home computer touches upon the most private human conduct, sexual behavior,

and in the most private of places, the home. Because no compelling government interest supports

this restriction on a fundamental liberty interest, § 1466A violates substantive due process under

the Supreme Court’s decision in Lawrence v. Texas. Fourth, by failing to identify any specific



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item or material received in violation of the statute, Count Two fails to state an offense, fails to

fairly inform Mr. Eychaner of the charge against which he must defend, and fails to allow Mr.

Eychaner to plead the judgment in this case as a defense to further prosecution. Finally, Count

Two must be dismissed for duplicity because it charges Mr. Eychaner with two distinct offenses:

attempt to receive cartoon obscenity and the completed offense.

  I.   As Applied to Non-Existent or Unspecified Materials, the Crime of Attempted Receipt
       of Obscenity Under § 1466A Is Unconstitutionally Vague.

       The Fifth Amendment provides that “[n]o person shall ... be deprived of life, liberty, or

property, without due process of law.” The Supreme Court’s vagueness doctrine holds that the

government “violates this guarantee by taking away someone’s life, liberty, or property under a

criminal law so vague that it fails to give ordinary people fair notice of the conduct it punishes, or

so standardless that it invites arbitrary enforcement.” Johnson v. United States, 135 S. Ct. 2551,

2556 (2015) (citing Kolender v. Lawson, 461 U.S. 352, 357-58 (1983)). “Certainty is all the more

essential when vagueness might induce individuals to forego their rights of speech, press, and

association for fear of violating an unclear law.” Scull v. Com. of Va. ex rel. Comm. on Law Reform

& Racial Activities, 359 U.S. 344, 353 (1959).

       Section 1466A is unconstitutionally vague as applied to Mr. Eychaner in this case. 18

U.S.C. § 1466A. He is charged with attempting to receive “visual depictions that depict minors

engaging in sexually explicit conduct and are obscene, to wit: obscene anime cartoons.” ECF No.

1, at 2. The indictment does not identify any particular cartoon as that which Mr. Eychaner

allegedly attempted to receive. Nor does the indictment say whether the allegedly “obscene anime

cartoons” in question actually exist. At trial on an attempt theory, the government presumably will

not have to demonstrate that Mr. Eychaner ever actually received an obscene anime cartoon. Nor

will the jury have to find that Mr. Eychaner ever even saw an obscene anime cartoon or that the



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obscene cartoon that he allegedly attempted to receive ever actually existed. Because—under the

government’s charged attempt theory—the jury will be asked to answer the impossibly

indeterminate question whether an unspecified or perhaps non-existent item is obscene, § 1466A

is unconstitutionally vague.

        In Miller v. California, the Supreme Court recognized inherent difficulties in determining

whether or not a particular item is obscene. 413 U.S. 15 (1973). But—at least when determining

the status of a specific item—the Court acknowledged the permissibility of such vagueness under

the Constitution:

                The mere fact juries may reach different conclusions as to the same
                material does not mean that constitutional rights are abridged. As
                this Court observed in Roth v. United States, 354 U.S., at 492 n.30,
                [ ] ‘it is common experience that different juries may reach different
                results under any criminal statute. That is one of the consequences
                we accept under our jury system.

Miller, 413 U.S. at 26 n.9. The Miller Court continued, “That there may be marginal cases in

which it is difficult to determine the side of the line on which a particular fact situation falls is no

sufficient reason to hold the language too ambiguous to define a criminal offense.” Id. at n.10.

But in Miller and subsequent cases, criminal obscenity statutes surviving vagueness challenges

have required the government to identify the particular item that is claimed to be obscene. Thus,

although different juries may reach different conclusions as to the same material—as Miller

assumes—any given jury is asked to decide the obscenity question as to some particular material.

        The indictment against Mr. Eychaner, however, does not allege that any particular item is

obscene. And—at least insofar as the indictment charges attempted receipt of an obscene item that

never actually existed—perhaps it cannot. Indeed, attempt liability can exist under this statute

when a defendant—with the specific intent to download an obscene cartoon depicting a child

engaged in sexually explicit conduct—takes a substantial step toward completion of the offense.



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See generally Braxton v. United States, 500 U.S. 344, 351 fn* (1991) (observing that attempt

liability requires specific intent to commit completed offense even if completed offense is not a

specific intent crime). It is unclear, therefore, whether any obscene material must actually exist

under the statute. What fact, exactly, is a jury supposed to find in a case where the statute requires

the jury to determine whether the item a defendant attempted to receive is obscene when that item

is never identified or perhaps never even existed? And how is the jury supposed to go about

finding that fact? The problem here is not merely that this fact will be hard for the jury to decide

or that some cases will exist in which that question is difficult to determine; rather, the problem

with § 1466A attempt is the inherent indeterminacy of precisely how the jury is supposed to

approach the obscenity element when the allegedly obscene material is unspecified or non-existent.

        The problem here is not dissimilar from that the Supreme Court addressed in Johnson v.

United States, 135 S. Ct. 2551, 2557 (2015). In Johnson, the residual clause of the Armed Career

Criminal Act (“ACCA”) required judges to determine whether a defendant’s prior offense of

conviction presented a “serious potential risk” of physical injury to another. Id. As with Miller’s

obscenity standard, there was a non-trivial degree of vagueness inherent in applying that “serious

potential risk” standard to a set of real world facts. Yet, as the Supreme Court observed in Johnson,

“It is one thing to apply an imprecise ‘serious potential risk’ standard to real-world facts; it is quite

another to apply it to a judge-imagined abstraction.” Id. at 2558. Because ACCA required judges

to first imagine the “ordinary case” and then apply the “serious potential risk” standard to that

abstraction, ACCA took an otherwise acceptable risk standard and used it in a statutory scheme

that was—as a whole—unconstitutionally vague. Id. The same is true here.

        Although some inherent vagueness exists whenever a jury applies Miller’s obscenity test

to some identified item, that process does not run afoul of Due Process. The same cannot be said,




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however, when a jury is asked to apply Miller’s obscenity test to an unspecified or non-existent

item. As in ACCA, a jury would first be asked to imagine the unspecified or non-existent item

that the defendant allegedly attempted to receive. (How would it ever do so?) And then the jury

would have to decide whether this item—constructed somehow by the jury—is obscene under

Miller. It would violate Due Process for a man’s liberty to turn on how a jury answers such an

indeterminate question. This is especially so when the statute implicates First Amendment

interests. See Scull, 359 U.S. at 353.

       What is more, the ability to initiate obscenity-based prosecutions when no actual obscenity

was involved in the inchoate offense opens the door to selective and discriminatory enforcement.

See City of Chicago v. Morales, 527 U.S. 41, 62 (1999); Kolender v. Lawson, 461 U.S. 352, 358

(1983). The statute here proscribes an attempt to receive expressive material and therefore

threatens the imposition of criminal sanctions without a defendant ever having actually received

obscene materials. This essential aspect of attempt liability will allow police and prosecutors to

enforce content-based restrictions on the exchange of expressive material without reference to any

specific material in existence. No outside actor—no judge, jury, or member of the press or

public—could independently assess the material in question to determine whether it actually

qualifies as protected speech under the First Amendment. Punishing the attempted receipt of non-

existent material—especially without some specific guideline for how enforcement decisions

should be made in such circumstances—invites selective and arbitrary enforcement. One person

who Googles “Lolita” may be treated differently from another, and the law gives police and

prosecutors largely unbound discretion in such circumstances. This is particularly problematic in

the context of this statute because the “standards of permissible statutory vagueness are strict in

the area of free expression.” NAACP v. Button, 371 U.S. 415, 432 (1963).




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       For all these reasons, § 1466A should be stricken down as unconstitutionally vague.

 II.   A Statute that Imposes Severe Criminal Penalties For Attempted Receipt of Obscene
       Cartoons Violates the First Amendment By Chilling Protected Speech.

       Like the statute the Supreme Court struck down in Ashcroft v. Free Speech Coalition,

§ 1466A “prohibit[s] child pornography that does not depict an actual child.” 535 U.S. 234, 240

(2002). To avoid the problem identified in Free Speech Coalition, Congress required—in

§ 1466A—that any images not depicting an actual child be obscene. By requiring the government

to prove in a § 1466A prosecution that the cartoon at issue is obscene, the statute avoids a direct

prohibition of protected speech. See Miller, 413 U.S. at 23-24 (defining obscenity and finding it

not protected speech under First Amendment); see also Roth v. United States, 354 U.S. 476, 484-

85 (1957).

       A statute that does not proscribe protected speech, however, can still violate the First

Amendment if it unconstitutionally chills protected speech. See generally Free Speech Coal., 535

U.S. at 255 (“The overbreadth doctrine prohibits the Government from banning unprotected

speech if a substantial amount of protected speech is prohibited or chilled in the process.”)

(emphasis added). Section 1466A is unconstitutional because, in explicitly banning unprotected

obscenity, it substantially chills protected speech.

       A. Even a law that directly targets only obscenity can unconstitutionally chill protected
          speech.

       In the seminal law review article on the chilling effect doctrine, Professor Shauer provides

a tentative definition for the phenomenon:

               A chilling effect occurs when individuals seeking to engage in
               activity protected by the first amendment are deterred from so doing
               by governmental regulation not specifically directed at that
               protected activity. Thus, if a statute which is directed at hard-core
               pornography has the actual effect of deterring an individual from
               publishing the Decameron or Lady Chatterley’s Lover, that effect is
               properly deemed a chilling effect.


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Frederick Schauer, Fear, Risk and the First Amendment: Unraveling the Chilling Effect, 58 B. U.

L. Rev. 685 (1978) (hereinafter “Schauer”) (italics in original).2

       The Supreme Court has applied this framework and stricken down criminal laws that

targeted only obscenity because the practical effect of the law’s restriction on unprotected

obscenity would be to chill protected speech. In Smith v. California, 361 U.S. 147, 153 (1959),

the Court struck down a statute that targeted only obscenity. Under that statute, booksellers were

in violation of the obscenity law regardless of whether they knew that the item they possessed was

obscene. The Court wrote that “if the bookseller is criminally liable without knowledge of the

contents, and the ordinance fulfills its purpose, he will tend to restrict the books he sells to those

he has inspected; and thus the State will have imposed a restriction upon the distribution of

constitutionally protected as well as obscene literature.” Id. Thus, the statute only directly

regulated obscenity. But it did so in a way that chilled protected speech. Therefore, the Supreme

Court held, the obscenity statute violated the First Amendment. Id.

       The Court’s rationale is Smith v. California is similar to the approach this Court should

apply here. To be sure, obscenity may be regulated. But, as the Supreme Court has said,

“[R]egulation of obscenity must ‘conform to procedures that will ensure against the curtailment of

constitutionally protected expression, which is often separated from obscenity only by a dim and

uncertain line.’” Quantity of Copies of Books v. Kansas, 378 U.S. 205, 210 (1964) (quoting

Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 66 (1963). In this case, attempt liability under

§ 1466A crosses that line and unconstitutionally chills protected speech. At least as applied to Mr.

Eychaner, the statute violates the First Amendment.




       2
        Available at http://scholarship.law.wm.edu/cgi/viewcontent.cgi?article=2010&context=f
acpubs (last accessed Dec. 12, 2017).


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           B. The degree of First Amendment chill is measured by multiplying the probability of
              erroneous conviction or investigation by the harm produced by such error.

           A law that chills protected speech only in the slightest or most incidental way can survive

 First Amendment scrutiny whereas laws that substantially chill protected speech cannot. See

 Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973). This means there must be some framework by

 which to measure the degree of “chill” imposed by a statute. The degree of chill may be likened

 to the product of the probability of the erroneous imposition of a legal sanction (i.e., a sanction for

 conduct protected by the First Amendment), times the harm produced by such an error. Schauer,

 at 695.

           Applying that general framework here reveals a substantial probability that § 1466A will

 erroneously punish conduct protected by the First Amendment. Especially if this Court finds that

 § 1466A can criminalize the attempted receipt of traditionally expressive material—i.e.,

 cartoons—without identifying any specific cartoon as obscene, the chill on protected First

 Amendment activity would be substantial. The indictment here does not identify any specific item

 as having been sought out by the defendant, yet the jury will be asked to decide whether this non-

 existent item—which may only have allegedly existed in Mr. Eychaner’s mind—is obscene. Such

 a law comes very close to criminalizing mere thought. And as a practical matter, it will dissuade

 people from seeking out expressive material that—although perhaps unseemly—qualifies as

 protected speech under Free Speech Coalition and New York v. Ferber, 458 U.S. 747 (1982). Even

 if those items a person actually receives qualify as protected speech, he may still be criminally

 prosecuted under the theory that he attempted to receive some unidentified or non-existent item

 that constituted either child pornography under Ferber or obscenity under Miller.

           As Professor Schauer observes, vagueness increases the possibility of error in the

 adjudicatory process and lessens the opportunity for correcting such error on appeal. Schauer, at



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 696 n.53. The Supreme Court has recognized that the combination of vagueness problems and a

 criminal sanction can lead to unconstitutional chill under the First Amendment. See Reno v. ACLU,

 521 U.S. 844, 871-72 (1997) (holding that the law’s “vagueness … raises special First Amendment

 concerns because of its obvious chilling effect on free speech” especially because it carried

 “criminal sanctions”). Accordingly, even if the vagueness issues described in Part I, supra, do not

 invalidate § 1466A under the Fifth Amendment, they increase the probability of error and therefore

 increase the degree of chill in this First Amendment analysis.

        Finally on the probability of error, the inherently prejudicial and offensive nature of the

 allegations might lead a jury to more readily convict in this context than if other areas where the

 line between protected speech and obscenity is less offensive. Section 1466A requires that a

 cartoon both 1) depict children engaging in sexually explicit conduct, and 2) be obscene. Although

 jurors take seriously their obligation to apply the law, any juror evaluating the obscenity question

 will undoubtedly suffer some implicit bias against a person perceived to be sexually deviant based

 on his attempt to receive a cartoon image of a sexualized child, regardless of whether the cartoon

 also had some serious literary or artistic value. This increases the probability of error.

        The erroneous sanctioning of protected speech is one factor in measuring the degree of

 chill. As mentioned above, the other factor is the magnitude of the harm resulting from such

 sanction. “The most obvious measure of his harm is the harshness of the penalty.” Schauer, at

 696. Here, the harshness of the penalties on Count Two are extreme. Mr. Eychaner faces a

 mandatory minimum prison term of 15 years if convicted on Count Two. Count Two also serves

 as the only available predicate offense for a mandatory consecutive sentence of 10 years under

 Count Five. So, as applied to Mr. Eychaner, the difference between attempting to receive a non-




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 obscene cartoon and attempting to receive an obscene cartoon is the difference between lawfully

 engaging in constitutionally protected speech and spending at least 25 years in federal prison.

        Another factor affecting the magnitude of the harm is the extreme social stigmatism

 associated with sex offenses. See Schauer, at 697 (discussing “stigma and disabilities which

 accompany a criminal conviction” as part of harm in chill analysis). According to the drafters of

 the Model Penal Code, “the treatment of sex offenders has borne many of the hallmarks of an

 unjustifiably punitive state. For instance, sex offenders as a class have been subjected to some of

 the most unforgiving and indiscriminate collateral consequences of conviction, such as unduly

 severe residency restrictions or registration requirements.” Model Penal Code: Sexual Assault and

 Related Offenses, General Commentary at 12 (Am. Law Inst., Discussion Draft No. 2, 2015).

        In a recent case involving possession of child pornography in the Eastern District of New

 York, the court emphasized that “[t]he heavy burdens of sex offender registration requirements are

 well-known.” United States v. E.L., 188 F. Supp. 3d 152, 173 (E.D.N.Y. 2016). A convicted sex

 offender “will have to live with the serious collateral consequences of his conviction: he will

 perpetually bear the scarlet letter that comes with being a convicted felon and registered sex

 offender.” Id.

        More specifically, convicted sex offenders must comply with strict supervision

 requirements, such as submission to searches, computer monitoring, and even polygraph testing,

 that extend into nearly every facet of life. See id. Beyond the concrete day-to-day consequences,

 courts have also recognized that “[r]econnecting with family and loved ones may be particularly

 hard for sex offenders, because of the stigma associated with the offense as well as the strict

 restrictions imposed upon release.” United States v. R.V., 157 F. Supp. 3d 207, 248 (E.D.N.Y.




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 2016). In sum, a conviction under § 1466A imposes substantial harm in addition to the lengthy

 term of imprisonment.

         A non-trivial probability of error multiplied by an extraordinarily high degree of harm

 results in a substantial degree of chill.

         Finally, it is worth noting that although a conviction under § 1466A is clearly the ultimate

 harm at stake, being arrested for or searched in connection with a crime involving child-related

 obscenity imposes significant harm even on a defendant who is ultimately acquitted. These

 government actions—with their attendant social stigmatization, professional ruin, and family

 upheaval—may be triggered by mere probable cause. Because the legal standard is lower

 (probable cause versus beyond-a-reasonable-doubt) the likelihood of being arrested for or searched

 in connection with a § 1466A investigation is far greater than being erroneously convicted. And

 the harm is still great. Thus, the chill on protected speech created by § 1466A is significant even

 when—for some case-specific reason—the prospect of the defendant ultimately being convicted

 is not as high.

         C. The facts here demonstrate how prosecutions for attempted receipt of obscenity can
            chill protected speech

         The prospect that protected speech will be chilled by this prosecution is not speculative.

 Although the indictment is vague, the government has already prosecuted Mr. Eychaner for a

 supervised release violation based on the same conduct. See United States v. Eychaner, No.

 2:07cr183 (Jan. 31, 2017). The petition on supervised release in that matter and the discovery

 produced in this case shows that the government will attempt to prove Mr. Eychaner’s attempted

 receipt of obscene cartoons, at least in part, based on his alleged use of search terms including

 “images of cg [computer generated] Lolita sex”; “Lolicon 3D images”; “show images of lolita

 model”; and “show images of lolita.” ECF No. 42, at 5 in Eychaner, No. 2:07cr183.



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         The defense believes that the government will attempt to use Mr. Eychaner’s alleged use

 of those internet search terms to demonstrate that he intended to receive some unidentified or

 unspecified obscene cartoon. If so, any rational person would balk at entering “show images of

 lolita” into Google’s image search box. Yet that search nets a top result consisting of core

 expressive speech: information about a 1997 feature film based on Vladimir Nabokov’s classic

 novel. That chilling effect—deterring people from engaging in core First Amendment activity—

 renders the statute unconstitutional, at least at applied to these facts.

 III.    A Statute Prohibiting the Private Exchange of Obscene Cartoons Between Consenting
         Adults Violates Fundamental Liberty Interests Protected Under the Fifth and
         Fourteenth Amendments.

         In Lawrence v. Texas, the Supreme Court recognized the right of consenting adults to

 engage in private acts of sexual expression. 539 U.S. 558, 578 (2003). Lawrence struck down a

 state law that—justified by promoting the interest of morality—sought to prohibit conduct

 “touching upon the most private human conduct, sexual behavior, and in the most private of places,

 the home.” Id. at 567. Here, Congress sought to do the same thing through § 1466A, which

 prohibited Mr. Eychaner from receiving—in his home—obscene cartoon images not involving

 actual children. This statute touches on the same liberty interest at stake in Lawrence and can be

 justified only by a similar morality-based rationale. Accordingly, for the same reasons the

 Supreme Court struck down the statute in Lawrence, this Court should strike down § 1466A as

 unconstitutional and dismiss Count Two.

         In the face of First Amendment challenges, the Supreme Court and the Fourth Circuit have

 upheld statutes that limit the exchange of obscene materials. See, e.g., United States v. Reidel, 402

 U.S. 351, 355 (1971); United States v. Whorley, 550 F.3d 326, 332 (4th Cir. 2008). Defendants in

 those cases argued that because the First Amendment protects the possession of obscenity in one’s

 home, Stanley v. Georgia, 394 U.S. 557 (1969), the First Amendment also protects a concomitant


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 right to receive such obscenity. That argument has been rejected. And although the defense raises

 it here to preserve the question for appeal, the defense also acknowledges that this particular

 argument is likely foreclosed by binding precedent in Whorley.

        But a question addressed in Whorley is whether receiving, from another consenting adult

 in your home, obscene items that do not depict actual children is an act of sexual expression

 protected by substantive due process.

        The Supreme Court’s decision in Lawrence confirmed that “the protection of liberty under

 the Due Process Clause has a substantive dimension of fundamental significance in defining the

 rights of the person.” 539 U.S. at 565. In that case, Lawrence challenged a law that proscribed

 certain private sexual contact between consenting adults of the same sex. Describing the liberty

 interest at stake, the Court wrote that the law “touch[ed] upon the most private human conduct,

 sexual behavior, and in the most private of places, the home.” Id. at 567. The Court held that, as

 a general rule, courts and the state should stay out of regulating in that arena “absent injury to a

 person or abuse of an institution the law protects.” Id.

        There is no moral equivalency between homosexuality and pedophilia. The defense is not

 suggesting that there is. But in defining the liberty interest being regulated, there is no principled

 distinction between the conduct at issue in Lawrence and the conduct at issue here. Both

 homosexual sodomy and downloading sexually explicit cartoons into a home computer “touch[ ]

 upon the most private human conduct, sexual behavior, and in the most private of places, the

 home.” Id. The Lawrence Court observed that, “The present case does not involve minors. It does

 not involve persons who might be injured or coerced or who are situated in relationships where

 consent might not easily be refused.” Id. at 578. The same is true here.




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        Section 1466A does not proscribe only pornography depicting actual children. If it did,

 the government would certainly have a compelling interest to proscribe such conduct,

 notwithstanding any plausible liberty interest raised by a defendant. See Ferber, 458 U.S. at 758

 (holding that statute proscribing pornography involving actual minors protects children who would

 be harmed through the production process). The question is whether the government has a

 compelling state interest here, when the statute does not involve depictions of actual children.

        To defend the constitutionality § 1466A, the government may assert that its prohibition of

 sexualized cartoon images is sufficiently related to the serious and legitimate regulatory interests

 that exist over either real child pornography or hands-on offenses against children such that the

 government can prohibit conduct in this area too. But the Supreme Court rejected a more

 compelling version of that same argument in Free Speech Coalition. 535 U.S. at 250.

        In Free Speech Coalition, the government argued that it could prohibit depictions of what

 appeared to be actual children engaging in sexual activity even if the images were computer

 generated or created with adult actors. The Supreme Court disagreed:

                In contrast to the speech in Ferber, speech that itself is the record of
                sexual abuse, the CPPA prohibits speech that records no crime and
                creates no victims by its production. Virtual child pornography is
                not “intrinsically related” to the sexual abuse of children, as were
                the materials in Ferber. 458 U.S. at 759. While the Government
                asserts that the images can lead to actual instances of child abuse,
                the causal link is contingent and indirect. The harm does not
                necessarily follow from the speech, but depends upon some
                unquantified potential for subsequent criminal acts.

 Free Speech Coal., 535 U.S. at 250 (internal citations omitted). Again, the same is true here.

        The government may also assert that § 1466A legitimately promotes decency and morality.

 But as the Fourth Circuit held when analyzing laws that implicate a fundamental liberty interest,

 the “interest of promoting moral principles is [ ] infirm in light of Lawrence: ‘the fact that the

 governing majority in a State has traditionally viewed a particular practice as immoral is not a


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 sufficient reason for upholding a law prohibiting the practice; neither history nor tradition could

 save a law prohibiting miscegenation from constitutional attack.’” Bostic v. Schaefer, 760 F.3d

 352, 380 (4th Cir. 2014) (quoting Lawrence, 539 U.S. at 577-78 and Bowers v. Hardwick, 478

 U.S. 186, 216 (1986) (Stevens, J., dissenting)). Indeed, as the Lawrence Court wrote:

                [F]or centuries there have been powerful voices to condemn
                homosexual conduct as immoral. The condemnation has been
                shaped by religious beliefs, conceptions of right and acceptable
                behavior, and respect for the traditional family. For many persons
                these are not trivial concerns but profound and deep convictions
                accepted as ethical and moral principles to which they aspire and
                which thus determine the course of their lives. These considerations
                do not answer the question before us, however. The issue is whether
                the majority may use the power of the State to enforce these views
                on the whole society through operation of the criminal law. “Our
                obligation is to define the liberty of all, not to mandate our own
                moral code.” Planned Parenthood of Southeastern Pa. v. Casey,
                505 U.S. 833, 850 [ ] (1992).

 539 U.S. at 571.

        It is not lost on counsel for Mr. Eychaner that any analogy between homosexual contact

 between consenting adults and the receipt of obscene cartoons depicting child-like characters

 engaged in sexually explicit conduct is nearly guaranteed to offend. The defense does not make

 this analogy lightly or with the aim of offending. But the defense submits that any distinction

 between these two forms of privately expressed sexual conduct is based on different normative

 assessments of the conduct’s morality. Neither involves actual children. Neither involves public

 activity. Both involve conduct that has been historically attacked as immoral. The point here is

 not to draw a moral equivalency where one does not exist. (The absence of moral equivalency is

 what makes the analogy so likely to offend.) Rather, the point is to observe that—however strong

 the moral case against a particular activity—morality-based legislation cannot curtail fundamental

 liberty interests. Some greater government interest is needed for such a law to survive strict

 scrutiny.


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        Section 1466A prohibits conduct that falls squarely within the fundamental liberty interest

 identified by the Supreme Court in Lawrence: “the most private human conduct, sexual behavior,

 and in the most private of places, the home.” 539 U.S. at 567. The defense acknowledges that

 many who deem any act of sexual expression involving a cartoon depiction of a non-existent child

 to be wrong “reach that conclusion based on decent and honorable religious or philosophical

 premises.” Obergefell v. Hodges, 135 S. Ct. 2584, 2602 (2015). Again, the defense clearly

 acknowledges the moral case to be made. But as the Court in Lawrence held, even majority-held

 morality considerations do not answer the question before the Court. “The issue is whether the

 majority may use the power of the State to enforce these views on the whole society through

 operation of the criminal law.” Lawrence, 539 U.S. at 571. Because § 1466A prohibits private

 conduct that falls within a core liberty interest protected by substantive due process, the majority

 may not use the power of the federal government to enforce its views on Mr. Eychancer through

 operation of the criminal law. Section 1466A is unconstitutional and Count Two must be

 dismissed.

 IV.    The Indictment’s Failure to List Any Specific Work as Violative of the Statute Must
        Result in Dismissal.

        A. By Failing to Allege That Mr. Eychaner Received or Attempted To Receive Any
           Specific Obscene Cartoon, Count Two Fails to State a Claim.

        Section 1466A makes it a crime for any person to “knowingly … receive[ ] … a visual

 depiction of any kind, including a … cartoon … that … depicts a minor engaging in sexually

 explicit conduct; and [ ] is obscene.” 18 U.S.C. § 1466A. Count Two of the indictment charges

 that Mr. Eychaner “knowingly received and attempted to receive visual depictions that depict

 minors engaging in sexually explicit conduct and are obscene, to wit: obscene anime cartoons.”

 ECF No. 1, at 2. The indictment fails to identify the “visual depiction” or “cartoon” that is the

 subject of this prosecution. Because the indictment does not identify any specific conduct as


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 violating the statute, it fails to state an offense. Cf. United States v. Furukawa, No. 06cr145, 2006

 WL 3330726, at *2 (D. Minn. Nov. 16, 2006) (finding that the indictment stated the offense of

 transportation of child pornography because the “indictment informs defendant of each element of

 the offense for which he is charged and identifies with specificity eighteen image files that are the

 basis of that offense) (emphasis added). Accordingly, dismissal is appropriate pursuant to Federal

 Rule of Criminal Procedure 12(b)(3)(B)(v).

        B. Assuming the Indictment States a Claim Under § 1466A, It Fails To Fairly Inform Mr.
           Eychaner of the Charge Against Which He Must Defend and May Not Allow Him To
           Plead a Judgment Here as a Bar To Future Prosecutions for the Same Offense.

        “[A]n indictment is sufficient if it, first, contains the elements of the offense charged and

 fairly informs a defendant of the charge against which he must defend, and, second, enables him

 to plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling v.

 United States, 418 U.S. 87, 117 (1974). The two parts of the first requirement—A) must contain

 the elements, and B) must fairly inform the defendant of the charge against which he must

 defend—stand independently from each other. Although infrequently, sometimes an indictment

 “satisfies one of those requirements but does not simultaneously satisfy the other.” United States

 v. Hooker, 841 F.2d 1225, 1230 (4th Cir. 1988). For purposes of this argument, the defense

 assumes arguendo that the indictment charges the essential elements. Even so, the indictment

 should be dismissed because it fails to fairly inform the defendant of the charge against which he

 must defend.

        The Supreme Court’s decision in Russell v. United States is probably most directly on point

 here. 369 U.S. 749 (1962). Mr. Russell had been convicted under a statute which provided that,

 “Every person who having been summoned as a witness by … any committee of either House of

 Congress … who … refuses to answer any question pertinent to the question under inquiry, shall

 be deemed guilty of a misdemeanor.” Id. at 752, n.2 (quoting 2 U.S.C. § 192). The indictment


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 tracked the language of the statute, stating that the questions to which answers were refused “were

 pertinent to the question then under inquiry” by the subcommittee. Id. The indictment failed,

 however, to identify the subject under subcommittee inquiry. Id. The Supreme Court held that to

 provide fair notice to the defendant and to ensure that any conviction would arise from the theory

 of guilt presented to the grand jury, the indictment in Russell had to do more than merely restate

 the language of the statute. Id. at 764. The Russell Court wrote,

                [T]he very core of criminality under [2 U.S.C. § 192] is pertinency
                to the subject under inquiry of the questions which the defendant
                refused to answer. What the subject actually was, therefore, is
                central to every prosecution under the statute. Where guilt depends
                so crucially upon such a specific identification of fact, our cases
                have uniformly held that an indictment must do more than simply
                repeat the language of the criminal statute.

 Id.

        As in Russell, the defense assumes here that the indictment charges each element of the

 offense. But like the indictment in Russell—which failed to provide the defendant with notice of

 the subject under inquiry—the indictment here fails to apprise Mr. Eychaner of the image or item

 that he allegedly received or attempted to receive. In Russell, pertinency was the core of

 criminality under § 192 and could not be determined except by reference to the subject under

 subcommittee inquiry; here, obscenity is the core of criminality under § 1466A and cannot be

 determined except by reference to the specific item or material received.

        In the indictment, the government has not identified any specific cartoon as that which Mr.

 Eychaner received or attempted to receive. How is Mr. Eychaner to prepare a defense when neither

 he nor his lawyers know the basis for the crime alleged? The government must prove that any

 cartoon received by Mr. Eychaner is obscene. But what image does the government claim to be

 obscene? Without knowing the answer to that question, it will be impossible for Mr. Eychaner to

 contest or rebut the government’s evidence on the obscenity element.


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        Moreover, “an important function of the indictment is to ensure that, ‘in case any other

 proceedings are taken against [the defendant] for a similar offence, … the record [will] sho[w]

 with accuracy to what extent he may plead a former acquittal or conviction.” Sanabria v. United

 States, 437 U.S. 54, 66 (1978) (quoting Cochran v. United States, 157 U.S. 286, 290 (1895))

 (modifications in Sanabria). Here, because the indictment does not allege that Mr. Eychaner

 attempted to receive any specific cartoon, Mr. Eychaner may have difficulty pleading his acquittal

 on Count Two as a bar to subsequent prosecutions or charges based on his alleged receipt of some

 other obscene cartoon. Compare with United States v. McCarty, 862 F.2d 143, 145 (7th Cir. 1988)

 (observing, in § 922(g) case where indictment “specifically identified the handgun McCarty

 possessed by make, caliber, and serial number,” that “the detail in the indictment, particularly the

 specificity with which it described the handgun, protected McCarty against double jeopardy”).

 Due Process requires more specificity than that contained in Count Two. Accordingly, Count Two

 should be dismissed.

  V.    Count Two Must Be Dismissed For Duplicity Because It Charges More Than One
        Offense.

        “An indictment is impermissibly duplicitous where: 1) it combines two or more distinct

 crimes into one count in contravention of Fed. R. Crim. P. 8(a)’s requirement that there be ‘a

 separate count for each offense,’ and 2) the defendant is prejudiced thereby.” United States v.

 Sturdivant, 244 F.3d 71, 75 (2d Cir. 2001). Here, Count Two should be dismissed because it joins

 two distinct and separate offenses in a single count: the completed offense, and the attempt of the

 underlying offense. These offenses have different mens rea, and attempt is not a true lesser-

 included of the completed charged offense. As such, Count Two is duplicitous. And because there

 is a risk of jury confusion and the possibility that Mr. Eychaner could be convicted on hybrid of

 these distinct offenses, he is prejudiced thereby. Count Two should therefore be dismissed.



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          A. Count Two charges attempt and the underlying completed offense.

          Section 1466A(a)(1) provides, in relevant part, that, “Any person who . . . knowingly . . .

 receives . . . a visual depiction of any kind that depicts a minor engaging in sexually explicit

 conduct; and is obscene . . . or attempts or conspires to do so, shall be subject to the penalties

 provided in section 2252A(b)(1)[.]”

          Count Two of the indictment here charges that Mr. Eychaner “knowingly received and

 attempted to receive visual depictions that depict minors engaging in sexually explicit conduct and

 are obscene, to wit: obscene anime cartoons.”3 ECF No. 1 (emphasis added). Accordingly, Count

 Two charges Mr. Eychaner with both the inchoate attempt offense and the underlying completed

 offense of receiving obscene visual representations of a minor engaging in sexually explicit

 conduct.

          B. The charged attempted offense is not a true “lesser included” offense of the completed
             because it requires a greater mens rea than the completed offense.

          An “attempt” offense requires proof that the person “intended to commit the completed

 offense” and took a “substantial step” towards committing that offense. See United States v.

 Dozier, 848 F.3d 180, 186 (4th Cir. 2017); United States v. Pratt, 351 F.3d 131, 135 (4th Cir.

 2003); United States v. Neal, 78 F.3d 901, 906 (4th Cir. 1996). An attempt crime requires proof

 of the defendant’s specific intent to commit the underlying crime. United States v. Russo, No.

 3:09CR191, 2009 WL 3839299, at *5 (E.D. Va. Nov. 16, 2009), aff’d, 408 F. App’x 753 (4th Cir.

 2011).




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   Notably, the indictment charges Mr. Eychaner with receiving and attempting to receive. The
 specific use of the term “and” as opposed to “or” removes any possibility that the government is
 trying to set forth alternative theories and instead further supports the argument that Count Two is
 duplicative.


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        To be convicted of attempt under § 1466A(a)(1), the government must prove that Mr.

 Eychaner had the specific intent to receive an obscene visual depiction of a minor engaging in

 sexually explicit conduct. See Russo, 2009 WL 3839299, at *5 (observing that “it is possible to

 knowingly receive child pornography without attempting to have done so, because an attempt

 crime requires ‘specific intent’ to commit the underlying crime, as opposed to the lesser mens rea,

 ‘knowingly,’ that 18 U.S.C. § 2252A requires”) (emphasis in original); id. at *4 (“The

 Government’s evidence proved commission of the completed crime beyond a reasonable doubt. It

 is not evident, therefore, why the Government saddled itself with the additional burden of proving

 ‘attempt’.”) (emphasis added). See generally Braxton v. United States, 500 U.S. 344, 351 fn*

 (1991) (“Since [18 U.S.C. § 1114] does not specify the elements of ‘attempt to kill,’ they are those

 required for an ‘attempt’ at common law . . . which include a specific intent to commit the unlawful

 act. ‘Although a murder may be committed without an intent to kill, an attempt to commit murder

 requires a specific intent to kill.’”) (internal citations omitted) (citing 4 C. Torcia, Wharton's

 Criminal Law § 743, p. 572 (14th ed. 1981); R. Perkins & R. Boyce, Criminal Law 637 (3d ed.

 1982); W. LaFave & A. Scott, Criminal Law 428-29 (1972)).

        To be convicted for the completed offense, however, the government need only prove that

 Mr. Eychaner “knowingly” received the visual depictions. See United States v. Dean, 635 F.3d

 1200 (11th Cir. 2011). Because the mens rea requirement for attempt is greater than the requisite

 mens rea for the completed offense, the attempt crime here is not a true “lesser included” of the

 completed offense. Rather, Count Two charges Mr. Eychaner with two distinct offenses.

        C. The duplicity in Count Two prejudices Mr. Eychaner because it could result in Mr.
           Eychaner being erroneously convicted if the jury finds the mens rea for the completed
           offense and the actus reus for attempt.

        The distinction between acting “purposely” and “knowingly” is meaningful. The specific

 intent mens rea requirement to prove attempt is a much higher standard than the general intent


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 mens rea necessary to prove the completed offense. General intent crimes are far easier to prove—

 at least on the mens rea element. So, as a practical matter, it will be easier in this case for the

 government to prove that Mr. Eychaner acted “knowingly” than that he acted “purposely.”

        When it comes to the actus reus element, however, it will be easier for the government to

 prove that Mr. Eychaner took a “substantial step” toward receiving the proscribed material than it

 will be to show that he actually received it.

        By charging both attempt and completed offense in one count, the government created a

 serious risk that the jury could convict Mr. Eychaner on Count Two based on the mens rea for the

 completed offense (“knowingly”) but the actus reus of the attempt offense (taking a substantial

 step toward receiving the prohibited material).

        Because Count Two violates the rule against duplicity in a way that could prejudice Mr.

 Eychaner, it should be dismissed.

                                           CONCLUSION

        For the reasons stated herein, the defense respectfully asks the Court to dismiss Count Two.

                                                    Respectfully submitted,


                                                          ELMER EMMANUEL EYCHANER

                                                    By:                 /s/_______________
                                                          Of counsel

                                                          Amanda C. Conner
                                                          VSB # 88317
                                                          Attorney for Elmer Emmanuel Eychaner
                                                          Assistant Federal Public Defender
                                                          Office of the Federal Public Defender
                                                          150 Boush Street, Suite 403
                                                          Norfolk, Virginia 23510
                                                          (757) 457-0816
                                                          (757) 457-0880 (telefax)
                                                          amanda_conner@fd.org


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                                 CERTIFICATE OF SERVICE

        I certify that on this 13th day of December, 2017, I electronically filed the foregoing with

 the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

 to:

 Lisa Rae McKeel
 United States Attorney's Office
 721 Lakefront Commons
 Suite 300
 Newport News, VA 23606
 (757) 591-4000
 Email: Lisa.McKeel@usdoj.gov

 Megan Cowles
 United States Attorney Office - Newport News
 Fountain Plaza Three
 721 Lake Front Commons
 Suite 300
 Newport News, VA 23606
 Email: megan.cowles@usdoj.gov



                                                             ______/s/_______________

                                                             Amanda C. Conner
                                                             VSB # 88317
                                                             Assistant Federal Public Defender
                                                             Office of the Federal Public Defender
                                                             150 Boush Street, Suite 403
                                                             Norfolk, Virginia 23510
                                                             (757) 457-0816
                                                             (757) 457-0880 (telefax)
                                                             amanda_conner@fd.org




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